
In re Matchett, Christopher D.; Disciplinary Counsel; — Plaintiff(s); Applying for Joint Petition for Transfer to Interim Suspension by Consent.
ORDER
Considering the Joint Petition for Interim Suspension filed by respondent, Christopher D. Matchett, and the Office of Disciplinary Counsel,
IT IS ORDERED that Christopher D. Matchett, Louisiana Bar Roll number 8444, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.3, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
/s/ Catherine D. Kimball Justice, Supreme Court of Louisiana
